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UNITED STATES DISTRICT COURT
DISTRICT OF COLORADO

 

MELANIE TOLBERT,
PLAINTIFF, Docket No.:

v. COMPLAINT AND JURY DEMAND
HIGH NOON PRODUCTIONS, LLC,
HIGH NOON PRODUCTIONS, LLC d/b/a
HIGH NOON ENTERTAINMENT, and
HIGH NOON ENTERTAINMENT,

DEFENDANTS.

x :
Plaintiff MELANIE TOLBERT, through her undersigned attorneys, hereby alleges, upon .

 

information and belief, as follows:

PARTIES

1. That at all relevant times herein mentioned, Plaintiff MELANIE TOLBERT was
and is a resident of the State of Alabama.

2. That at all relevant times herein mentioned, Defendants HIGH NOON
PRODUCTIONS, LLC, HIGH NOON PRODUCTIONS LLC d/b/a HIGH NOON
ENTERTAINMENT and HIGH NOON ENTERTAINMENT is/are a limited liability corporation
organized in the State of Colorado, with a principal office address off/principal place of business
located at/headquarters located at 3035 South Parker Road, Suite 500, Denver, Colorado 80014.
Defendants do business as “High Noon Entertainment” and is a self-described reality TV

production company with offices based in Denver, Colorado and Los Angeles, California.

 
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JURISDICTION AND VENUE

3, This Court has subject matter jurisdiction herein pursuant to 28 U.S.C.
§1388(a) because of this Court’s exclusive jurisdiction over copyright cases.

4, Venue is proper pursuant to 28 U.S.C. § 1400(a) because the Defendants
maintain their principal place of business and/or headquarters, and operates their
business/transacts business, within this District and therefore personal jurisdiction may be
properly obtained over the Defendants.

5. Plaintiff brings her claims under the Copyright Laws of the United States,
17 U.S.C. § 101 et seg., and under Colorado law.

6. This Court has exclusive jurisdiction over this action under 28 U.S.C. §§
1331 and 1338. This Court has supplemental jurisdiction over claims brought under
Colorado law pursuant to 28 U.S.C. § 1367.

7. Venue is proper in this District pursuant to 28 U.S.C. §§ 1391 and 1400 as
the Defendants have conducted such business in Colorado so as to constitute having
sufficient minimum contacts with Colorado, such that Defendants should reasonably
anticipate being haled into court within the State of Colorado. As Defendants maintain
their principal place of business/headquarters in the State of Colorado and operate their
business in the State of Colorado, Defendants have purposefully availed themselves of the
privilege of conducting activities within Colorado and have purposefully directed efforts
toward residents of Colorado. More specifically, Defendants have, as claimed below,
infringed upon Plaintiffs copyrighted work/trade secret by producing and/or causing to
be produced, one substantially similar and, having had such access to Plaintiff’s work as

necessary, then broadcasting it through their business affiliate HGTV knowing that it

 

 
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would be broadcast via satellite and/or cable into/in Colorado. Defendants knew that such
infringing activity would reach Colorado citizens.

GENERAL AND FACTUAL ALLEGATIONS

8. Plaintiff MELANIE TOLBERT is an actress, writer, and singer who has been
performing since she was 12 years old. She has worked in several motion pictures and in episodes
of several television programs. She has created and written eight intellectual properties, i.c., film
and TV projects. She has worked in the entertainment industry for more than 15 years. She is a
native of Alabama and received her B.A. in Literature, Arts and Society from the University of
Alabama.

9, Plaintiff has appeared as a supporting actress in Mr. and Mrs. Smith and Garfield
A,

10. _—- Plaintiff has further worked as a “stand-in” and “double” for Hollywood actress
Angelina Jolie in six motion pictures: Maleficent, Salt (posters), Changeling, Good Shephard, Mr.
and Mrs, Smith, and Taking Lives.

11. Likewise, Plaintiff has appeared as a stand-in in the movies American Pie, Casa de
mi Padre, and Dinner for Schmucks.

12. ‘Plaintiff was a quarter-finalist in the prestigious “Shore Scripts” writing
competition, and has been a member of the Screen Actors Guild since 2003. She has five
screenplays registered with the Writers Guild.

13. Plaintiff is also the creator of numerous intellectual properties including the
renovation 'T'V pilot, “Like Mother, Like Daughter”; “Cedar Box,” a western; “Almost Killed the
Dogs,” about a serial killer; “Tetendeit,” about a government conspiracy; “Secret Agent Max,”

designed for preschool children; “Chasing a Dream,” a reality drama; and “Sooisid,” a television

 
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drama.

14. In 2014 Plaintiff moved back to Alabama from California to be with and help take
care of her mother following two years in which her mother lost her husband (Plaintiff's father)
and her daughter (Plaintiff's sister), and also lost the family home and business.

15. Plaintiff continued in the entertainment field pursuing her own projects. One such
project was a mother-daughter renovation TV show. Plaintiff and her mother watched the HGTV
renovation channel regularly, and Plaintiff and her mother often did renovation projects separately
and together. Plaintiff came to realize that she had seen no mother-daughter shows on television,
and thus her mother-daughter TV show was born. She researched the issue and found that indeed
as of 2014, there were no such mother-daughter renovation TV shows.

16. Atthe same time, in or about July 2014, Plaintiff contacted producers and a network
in the home renovation genre about her mother-daughter show details. In order to induce these
producers/network to discuss and produce the mother-daughter renovation TV show with her,
Plaintiff decided to produce a “teaser” video,

17. Plaintiff set up her lights and camera, called “action!” and the two filmed her
mother-daughter teaser video, “Like Mother Like Daughter.” The teaser video demonstrated her
uniquely original TV show, show details, content, ideas and proposed elements to be included in
the proposed TV show.

18. _— Plaintiffs teaser video depicted her and her mother renovating part of a house while
interacting as mothers and daughters do, discussing details, laughing, and interacting with their
dogs on set, creating a warm, family feeling.

19, In July 2014 she communicated her proposed mother-daughter renovation TV show

and show details contained and reflected in the teaser video with an agent, officer, or employee of

 
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“Renovation Realities,” owned by Scripps Networks and/or HGTV; Scripps Networks being the
parent company of HGTV. After back and forth correspondence, Renovation Realities ultimately
declined to use Plaintiff’s mother-daughter TV renovation show.

20. | Upon information and belief, Renovation Realities conveyed the mother-daughter
renovation TV show and specific details, content and ideas to HGTV.

21. Plaintiff continued her efforts to contact producers in the home renovation genre.
These producers had an established professional relationship to HGTV and/or to Defendants, and,
to the current production team of “Good Bones.”

22, “Good Bones” is the infringing work that Defendants created, produced and/or
caused to be created/produced by/with HGTV and further created/produced and/or caused same to
be created/produced based on substantially similar elements of Plaintiffs mother-daughter
renovation TV show and its teaser video.

23. Also, in July 2014, Plaintiff contacted producer, “A,” a CEO and founder of a large
media company who had worked directly with HGTV. He forwarded Plaintiffs email to producer
“B,” who works for another large media company and who had also worked directly with HGTV.
He stated that “the mother daughter team of renovators is interesting” and asked to see Plaintiff's
teaser video which she sent to him by email. He acknowledged receiving the teaser video, but
ultimately declined to use Plaintiff's mother-daughter TV renovation show.

24. Upon information and belief, producer A or producer B conveyed the mother-
daughter TV renovation show, show details, content, ideas and the teaser video to HGTV and/or
to Defendants herein.

25. Another producer Plaintiff contacted in 2014, “C,” likewise had an established

relationship with HGTV and/or with Defendants. He responded to Plaintiff and that he “love[d]

 
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the idea of a mother/daughter renovation team,” but was not sure who would be interested in
Plaintiff's mother-daughter TV renovation show. Shortly thereafter, he began working with
HGTY again.

26. Upon information and belief, producer C conveyed Plaintiffs mother-daughter TV
renovation show, show details, ideas, content, elements and the teaser video to HGTV and/or to
Defendants, for whom he had begun working shortly thereafter.

27. Another producer Plaintiff contacted in 2014, “D,” had worked often with HGTV.
Producer D forwarded Plaintiffs information and teaser video to a second producer, “E,” who had
previously worked with the actual producer of the infringing work “Good Bones.” Producer E
told Plaintiff that her project did not fit with the current programming mandates of their network
partners. One of their network partners is HGTV. These producers ultimately declined to use
Plaintiff's mother-daughter TV renovation show.

28. Upon information and belief, producer D or producer E conveyed Plaintiffs
mother-daughter TV renovation show, show details, content, elements and the teaser video to
HGTV and/or to Defendants herein.

29. Another producer Plaintiff contacted in 2014, “F,” worked directly for HGTV. He
gave Plaintiff constructive criticism, noted that more work needed to be done on the teaser video,
and noted that he had “good connections to a production company with a large development
department that sells shows all the time,” which aptly describes, among others, Defendant High
Noon.

30. Upon information and belief, producer F, who worked directly for HGTV at the
time, conveyed Plaintiffs mother-daughter TV renovation show, show details, content, ideas,

elements and the teaser video to HGTV and/or to Defendants herein.

 
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31. Plaintiff pitched, provided and/or sent her mother-daughter TV renovation show,
show details, content, ideas, elements and/or teaser video to producers and/or exccutives
of/with/associated with/affiliated with HGTV, Discovery and/or Defendants herein including, but
not limited to:

a. Abra Edelman of Edelman Productions — produces HGTV’s “Curb Appeal”;

b. Tyler M. Hall — production of HGTV’s “House Hunters Renovations”;

c. Tracy Burns — production of HGTV’s “House Hunters”;

d. David Eisenberg -- Director- production of HGTV’ s “House Hunters International”;

e. Wendy Hall of Leopard Production Co. — HGTV;

f. Nick Rigg — production of HGTV’s “House Hunters International”;

g. Babette Canton — producer of HGTV’s “House Hunters”;

h. Tom Brickner — production of several HGTV shows;

i. Kevin Moriarty -- production of Discovery’s/Food Network’s “Rachel Ray Show”;

j. Julian Locke — production of HGTV’s “MAN CAVEs”;

k. Lynnette M. Myers — production of HGTV’s “Property Brothers”;

L Sebastian Cluer — production of HGTV’s “Home Inspection”; and

k. Katie Daigle — Vice President Production & Development with HGTV/Discovery

32. Moving forward, in or about July 2017, Plaintiff first discovered that Defendants
had filmed and televised a show, to wit: “Good Bones” with substantially similar show details,
ideas, content and/or elements and utilized Plaintiff's show details/content/ideas/elements
contained in her video. These substantial similarities between her work and “Good Bones”, the

infringing work, include, but are not limited to the following:

 

 
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In Plaintiff's show, the show is a mother-daughter team; in Good Bones’ show, the
show is a mother-daughter team;

In Plaintiff’s show, the mother is a professional; in Good Bones’ show, the mother
is a professional;

In Plaintiff's show, the daughter is “artsy;” in Good Bones’ show, the daughter is
“artsy”;

In Plaintiffs show, the daughter takes the lead in directing activities and proposing
ideas for the renovation; in Good Bones’ show, the daughter takes the lead in
directing activities and proposing ideas for the renovation;

In Plaintiff's show, the mother-daughter are self-taught renovators, with neither
having any professional construction experience; in Good Bones’ show, the
mother-daughter are self-taught renovators, with neither having any professional
construction experience;

In Plaintiff's show, the daughter was single when the character was cast; in Good
Bones’ show, the daughter the daughter was single when the character was cast;
In Plaintiff's show, the women exhibit strong personalities with each other; in Good
Bones’ show, the women exhibit strong personalities with each other; |

In Plaintiff's show, the women are dog lovers and their dogs appear on film; in
Good Bones’ show, the women are dog lovers and their dogs appear on film;
There is substantial similarity in the introductory remarks for each show. In
Plaintiff's show, Plaintiff introduces her show with, “I’m Melanie; I’m the
daughter,” after which the mother says, “I’m Janice, and I’m the mother;” In Good

Bones’ show, the daughter says, “I’m Mina and this is my mom, Karen”’;

 
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j- In Plaintiff's show, the theme, feeling, and setting of the show is a mother-daughter
team renovating dilapidated houses; in Good Bones’ show, the theme, feeling, and
setting of the show is a mother-daughter team renovating dilapidated houses;

k. In Plaintiff's show, Plaintiff and her mother handpainted the name of their show on
their t-shirts; in Good Bones’ show, the show’s name appears to be handpainted on
a window. Both sets of writing looked like someone just wrote the words with a
paintbrush;

L. In Plaintiffs show the mother makes it a point to hold onto something sentimental
or significant in the house to highlight their renovation. In Good Bones’ show, the
mother selects keepsake or sentimental items from the houses they are renovating,
to be displayed after the renovation;

m. For Plaintiff's show, the promotional teaser shots included shots of mother and
daughter sitting back-to-back in black shirts. In Good Bones’ show, footage depicts
mother and daughter back-to-back, in black shirts,

33, The above substantial similarities are not mere “scene a faire.” The film production
process involves time-consuming planning, as follows:

a. Setting up a shot for TV and film is a specific, well thought out process, Nothing is
done off the book or by accident as “Reality TV” shows like Defendants’ infringing
“Good Bones” are produced and set up in the same manner as typical high-budget
scripted television shows;

b. A shot list is put together first for each day of shooting and includes those shoots
to be accomplished. This helps keep the production on schedule and budget in

check;

 

 
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C. Blocking the shot for a scene is crucial. The lighting, framing, focus and camera
moves all start with blocking. Blocking determines where actors will be standing
as well as the first camera position. Once the blocking is right, actors then rehearse;

d. During this blocking, a camera assistant places marks on the floor so the actors
know where to stand so as to stay in frame. Actors use this mark for each and every
take. This method keeps actors in frame, in their light, and makes post production
easier by having the shots match up for editing.

34, Here, there are numerous examples of blocking and framing, with explanatory
remarks, as well as other pictures showing substantial similarity between the Plaintiff's
show/concepts/ideas/teaser video and Defendants’ “Good Bones.” Annexed hereto and made
a part hereof as Exhibit “A” are examples of the foregoing.

35. Plaintiff immediately contacted HGTV and told them they had taken her show and
put it on the air.

36. Plaintiff, with the assistance of her then counsel, next contacted Defendants
regarding the infringement on her copyrighted work. By this time the HGTV series “Good
Bones,” produced by Defendant High Noon Productions, was into its second season.

37. Back-and-forth communications ensued between Plaintiff/fher counsel and
Defendant High Noon, in which High Noon represented that its people allegedly contacted the
stars of the new series, Mina Starsiak and Karen Laine,' in November 2013. Defendant High
Noon further represented that its producer and/or casting director had allegedly “stumbled”
onto the ladies’ Facebook page for their business in Indiana, completely by accident.

38. Conversely, various media sources containing interviews of the two stars reflect

 

1 Ms. Starsiack and Ms. Laine will be referred to herein as the “Good Bones stars” or the “Good Bones ladies.”

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that the “Good Bones” stars say they were contacted in 2014 — not 2013 as claimed by
Defendants herein.

39. Further clouding the issue, the CEO of High Noon Productions is quoted in a news
article from 2016 saying that “last year” High Noon had “put calls in to construction
companies” and had been recommended to the Good Bones stars—which was a referral, and
not an “accident.” This article indicates 2015 as being the contact year — again not 2013 as
Defendants also claim.

40. After the show’s stars were “discovered,” the next day there was a Skype interview
with the stars, and shortly thereafter Defendants sent a flip camera to the ladies to shoot footage
of themselves in action for a teaser, and they shot it in two weeks.

41. The footage was sent back to Defendants who turned it into a professional teaser.
Defendants then took it to HGTV.

42. A High Noon representative described the process with HGTV as “the easiest pitch
that they had ever made.”

43. HGTV directed Defendants to proceed with the pilot.

44. On May 4, 2015, the pilot, produced by Defendants and aired on HGTV, was
shown. It aired under the name of the ladies’ business, “Two Chicks and a Hammer.” The
title of the show would later become “Good Bones.”

45. To summarize, Defendants represented via mail to Plaintiff and her counsel a
timeline of events apparently beginning in in 2013, consisting of email correspondence
between the two “Good Bones” stars and Defendant High Noon’s casting director. The emails,
and the timeline below, show the implausibility of Defendant’s assertions, and demonstrates

the validity of Plaintiffs timeline—that she pitched the show and show details before any

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“discovery” of the “Good Bones” stars and before any “Good Bones” concepts, footage or

treatments were created:

® 2013 —- (High Noon says) Ladies contacted November 12, 2013; interview on Skype
the next day; camera immediately sent to ladies; footage shot within two weeks.

e 2013 — (High Noon says) Footage back to High Noon for editing by December 27.

° 2014 — Plaintiff starts pitching her show details and shoots teaser video. Posts
teaser video on Youtube and sends it to Renovation Realities (owned by HGTV)
July 12; reviewed by Renovation Realities in August. Plaintiff works on teaser and
sends it to various HGTV-connected producers.

e 2014 — Plaintiff is advised that no one is doing a similar show nor is Plaintiff
advised of any companies shooting a similar project.

e 2014 — According to “Good Bones” women, they are discovered and things move
very quickly toward a pilot being approved and airing.

* 2015 — High Noon CEO says (in 2016) that they put calls in to construction
companies, got referral to “Good Bones” ladies.

° 2015 —in January “Good Bones” ladies apply for copyright on “Two Chicks” logo.

° 2015 — on May 4, “Good Bones” pilot airs under the name “Two Chicks and A

Hammer”,
° 2015 — “Two Chicks” business incorporates (mom is an attorney).
* 2016 — First record of production/filming in Indiana; Season One begins in March.

° 2016 —HGTV obtains first copyright on show(s) (had not copyrighted pilot).

e 2017 —‘‘Good Bones” Season Two begins in March.

° 2017 — Plaintiff learns that her show is being produced as “Good Bones”.

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e 2017 — Plaintiff obtains copyright on her work.

e 2017 — Plaintiff contacts HGTV and High Noon. Communications ensue about
alleged 2013 discovery of “Good Bones” stars.

46. Following the airing, which apparently proved quite successful, the show’s stars
incorporated their business and filed their own copyright in 2015.

47. HGTV did not copyright their pilot. The first copyright obtained by HGTV for
their television show was obtained in June 2016.

48. The emails between Defendant High Noon and the “Good Bones” stars, furnished
to Plaintiff in 2017, indicate a gap of 17 months between the alleged 2013 “discovery” of the
“Good Bones” stars and the May 2015 airing of the pilot.

49. Conversely, the show’s stars say they were first contacted in 2014 and shot their
pilot in the fall of 2014. In addition, to present date, their website for “Two Chicks and A Hammer”
states that the ladies were first contacted/disicvered by Defendants in 2014. See

https://www.2chicksandahammer.com/about.

50. Likewise, all the other information available to Plaintiff shows a much shorter
timeline for creation of the “Good Bones” TV show—a few months—rather than the 17-month
timeline asserted to Plaintiff by the Defendants herein.

51. The disparity between the various dates regarding the stars’ discovery to the airing
of the pilot makes it appear that after Plaintiff complained, there was a need for one or both
Defendants to establish the earlier 2013 contact date between Defendant High Noon and the “Good
Bones” ladies in order to avoid the appearance of infringement.

52. The implication, therefore, in these circumstances is that Defendants knew that they

had infringed on Plaintiffs rights in her work.

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53. The obvious conclusion to be made, and the only way the available information
makes sense, is that the timeline began much later than 2013; that the “discovery” of the “Good
Bones” ladies came much later, perhaps late 2014 or 2015, after Plaintiff submitted her show, show
details, and teaser video to HGTV’s Renovation Realities and various producers who had close
ties with both HGTV and with Defendants, and, that Plaintiff? s show details and video were
transmitted to/conveyed to/provided to/accessed by Defendants and Defendants based their show
on Plaintiffs video show and details.

54. In 2017 Plaintiff applied for and was issued a Certificate of Registration from the
United States Copyright Office, Registration Number PAU 3-864-046, with an effective
registration date of November 21, 2017. The registration is for a work titled, “Like Mother, Like
Daughter Renovations.” The certificate shows that Plaintiff claimed, under oath, her year of
completion being 2014. Annexed hereto and made a part hereof as Exhibit “B” is a true and
correct copy of Plaintiff's Certificate of Copyright Registration.

55. That at all relevant times herein mentioned, and continuing to present date,
Defendants have a continuing, ongoing, repeated and continuous television production working
and business relationship with and access to/with HGTV and HGTV’s parent company Scripps
Networks as well as with/to the Discovery Channel.

56. In fact, based upon information and belief, the three founders of Defendants High
Noon Productions LLC/High Noon Entertainment, prior to founding same in 1997, worked on
several series for the Discovery Channel.

57. ‘That at all relevant times herein mentioned, and continuing to present date,
Defendants’ continuing television production business relationship with HGTV/Scripps Networks

includes, but is not limited to, the television shows/programs: “Fixer Upper”; “Fixer Upper:

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Behind the Design”; “Flip or Flop: :as Vegas”; “Restored by the Fords” and many others.

58. That at all relevant times herein mentioned, and continuing to present date,
Defendants’ continuing television production business relationship with the Discovery channel
includes, but is not limited to, the television shows/programs “American Chopper” and “Dude,

You’re Screwed”, among many others.

AS AND FOR A FIRST CAUSE OF ACTION

COPYRIGHT INFRINGEMENT
VIOLATION OF THE COPYRIGHT ACT, 17 U.S.C. 101 e¢ seq.

59. Plaintiff repeats, reiterates, re-asserts, re-alleges and restates each and every
allegation and factual allegation set forth in paragraphs of the Complaint numbered “1” to “58”
with the same force and effect as if more fully set forth at length herein.

60. That at all relevant times herein mentioned, Plaintiff's show details, show concepts,
teaser video and work titled, “Like Mother, Like Daughter Renovations” are original, creative and
unique and contain copyrightable subject matter under the copyright laws of the United States.

61. That at all relevant times herein mentioned, Plaintiff is the owner of the copyright
to her show, show details, show concepts, teaser video and work titled, “Like Mother, Like
Daughter Renovations” which is the subject of a valid Certificate of Copyright Registration issued
by the Register of Copyrights.

62. That at all relevant times herein mentioned, Plaintiff's original, creative and unique
show details, show concepts, teaser video and work titled, “Like Mother, Like Daughter
Renovations” is properly the subject of copyright protection.

63. That at all relevant times herein mentioned, among the exclusive rights granted to

Plaintiff May under the Copyright Act are the exclusive rights to reproduce and distribute the

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copyrighted materials to the public and prepare derivative works.

64. That at all relevant times herein mentioned, and upon information and belief,
Defendants have continued to copy, take, use, produce, air, televise and misappropriate Plaintiffs
copyrighted work/material/trade secret to present date.

65. That at all relevant times herein mentioned, and upon information and belief,
Defendants’ exploitation of Plaintiff's work/material/trade secret was made without Plaintiff's
knowledge or consent and constitutes a brazen violation of Sections 106 and 501 of the Copyright
Act, 17 U.S.C. §§ 106 and 501.

66. That at all relevant times herein mentioned, and upon information and belief,
Defendants’ foregoing acts of infringement have been willful, intentional, in disregard for and
indifferent to Plaintiff's rights herein.

67. That at all relevant times herein mentioned, and upon information and belief,
Defendants have profited substantially from their infringing activities, have collected, and continue
to collect monies, profits and the like from their use, taking, producing, televising and
misappropriation of Plaintiff's work, and/or any derivatives thereof, and have retained such
monies/profits without submitting/tendering/compensating any amount to Plaintiff herein.

68. That at all relevant times herein mentioned, and upon information and belief,
Plaintiff work was misappropriated by Defendants without the opportunity for Plaintiff to agree to
confer the benefit of consent to Defendants to copy, use, take, implement, produce, televise and/or
create derivative television shows/works from Plaintiff’s unique, original and creative copyrighted
show details, show concepts, teaser video and work titled, “Like Mother, Like Daughter
Renovations”.

69. That at all relevant times herein mentioned, and upon information and belief,

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Defendants knew or should have known of the writing, creation and production of Defendants’
“Good Bones”, and that it contained, took, used and implemented Plaintiff's original, unique and
creative protected show details, show concepts, teaser video and work titled, “Like Mother, Like
Daughter Renovations” without Plaintiff's knowledge, consent, permission and authority, and,
without due and lawful credit and compensation to Plaintiff for same.

70. —‘ That at all relevant times herein mentioned, and upon information and belief, as a
direct result of the writing, creation, production, release, marketing, promoting, sales,
performances, televising, airing, licensing and/or distribution of Defendants’ “Good Bones”, the
Defendants herein received and accepted, and continue to receive and accept to present date,
financial enrichment, financial gains, financial profits, monies, income and/or revenues from the
writing, production, sale and world-wide distribution of Defendants’ “Good Bones”, and, further
receive and continue to receive same unjustly and to the financial detriment and expense of
Plaintiff as set forth herein.

71. That at all relevant times herein mentioned, and upon information and belief,
Defendants were/are contractually, professionally and financially enriched by its show “Good
Bones” and continue to be so enriched to present date to the detriment of Plaintiff herein.

72. That at all relevant times herein mentioned, and upon information and belief, the
Defendants knew and/or should have known of the substantial similarities with their “Good Bones”
and PlaintifPs work/show/protected work/content/ideas/elements/trade secret that is contained in,
used in, taken and implemented by Defendants in Defendants’ “Good Bones”.

73. That at all relevant times herein mentioned, and upon information and belief, the
Defendants wrote, created, produced, cleared, approved, released, aired, televised, promoted,

marketed, and continue to do so to present date, their “Good Bones” to the complete contractual,

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professional and/or financial exclusion of, detriment to, expense to and injury/damage to Plaintiff
MELANIE TOLBERT as set forth herein.

74. That at all relevant times herein mentioned, and upon information and belief, the
Defendants wrote, created, produced, cleared, approved, released, aired, televised, promoted,
marketed, and continue to do so to present date, their “Good Bones” in a total exclusionary fashion
Plaintiff, at the expense of Plaintiff, to the Defendants’ unjust enrichment, and, contrary to Plaintiff
MELANIE TOLBERTs exclusive rights to reproduce and distribute her copyrighted
work/show/show details/show content/show elements to the public and/or to authorize derivative
works under copyright law to/for Plaintiff's own benefit/financial benefit.

75. That at all relevant times herein mentioned, and upon information and belief, the
Defendants have continued to release, promote, market, distribute, air, televise, create and produce
their “Good Bones” while unjustly receiving, and continuing to receive to present date, perpetual
financial unjust enrichment from Plaintiff's unique, creative, original and copyrighted
material/work/show/show details/content/elements/trade secret/teaser video at Plaintiff's expense
and to her financial detriment.

76. That at all relevant times herein mentioned, Defendants have been and continue to
be to present date, unjustly enriched, financially and/or otherwise, to Plaintiff's detriment.
Annexed hereto and made a part hereof as Exhibit “C’ is a breakdown of Defendants’ success,
increase in revenue, increase in ratings, increase in profits and other enrichments after the
televising of “Good Bones”.

77. ‘That at all relevant times herein mentioned, and upon information and belief, the
Defendants have continued to further authorize and execute the airing, televising, broadcasting,

production and distribution of Defendants’ “Good Bones”, substantially utilizing, taking and

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misappropriating Plaintiff's unique, original, creative and copyrighted material/work/show/show
details/show content/show elements/trade secret/teaser video in and as part of Defendants’ “Good
Bones” to present date.

78. That all relevant times herein mentioned, and upon information and belief,
Plaintiff's material/work/show/show details/show content/show elements/trade secret/teaser
video and copyrighted work was misappropriated by Defendants without the opportunity for
Plaintiff to agree to confer the benefit of consent to Defendants to copy, use, take, implement,
produce and/or create derivative works from Plaintiffs unique, original and creative copyrighted
work/ material/work/show/show details/show content/show elements/trade secret.

79, That at all relevant times herein mentioned, and upon information and belief,
Defendants knew or should have known that Defendants’ “Good Bones” contained, took, used and
implemented Plaintiffs original, unique and creative protected work/ material/work/show/show
details/show content/show elements/trade secret/teaser video without Plaintiffs knowledge,
consent, permission and authority, and, without due and lawful credit and compensation to Plaintiff
MELANIE TOLBERT for same, and, knew or should have known of the substantial similarity
between their “Good bones” and Plaintiff's work/ material/work/show/show details/show
content/show elements/trade secret.

80. That at all relevant times herein mentioned, and upon information and belief, as a
direct result of the writing, creation, production, release, marketing, promoting, performances,
airing, televising, broadcasting, publishing and distribution of Defendants’ “Good Bones”, the
Defendants herein received and accepted, and continue to receive and accept to present date,
financial enrichment, financial gains, financial profits, monies, income, ratings and/or revenues

from the writing, production, creations, marketing, televising, broadcasting and distribution of

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Defendants’ “Good Bones”, and, further receive and continue to receive same unjustly and to the
financial detriment and expense of Plaintiff as set forth herein, See Exhibit “C”, supra.

81. That at all relevant times herein mentioned, and upon information and belief,
Defendants were and continue to be perpetually contractually, professionally and financially
enriched by their “Good Bones” utilizing, taking, implementing and misappropriating Plaintiff's
original, unique and creative protected work/ material/work/show/show details/show content/show
elements/trade secret/teaser video to present date and fail and/or refuse to compensate Plaintiff for
same to present date.

82. That at all relevant times herein mentioned, and upon information and belief,
Defendants, in 2019, renewed their series/television program “Good Bones” to
ait/televise/broadcast on HGTV for its fifth season which is slated to premiere on June 9, 2020;
thereby extending and continuing Defendants’ enrichment, financial and/or otherwise, from same
to the continued detriment to Plaintiff MELANIE TOLBERT herein.

83. That at all relevant times herein mentioned, and upon information and belief,
Defendants have willfully and intentionally continued to receive unjust financial enrichment from
its perpetual exploitation of Plaintiff’s work/ material/work/show/ show details/show content/show
elements/trade secret/teaser video, to present date, without Plaintiff's knowledge or consent, at her
expense and to her financial detriment which constitutes a violation of Sections 106 and 501 of the
Copyright Act, 17 U.S.C. §§ 106 and 501.

84. That at all relevant times herein mentioned, and upon information and belief,
Defendants’ foregoing acts of infringement have been willful and intentional and in deliberate
disregard for Plaintiff's rights granted under copyright law.

85. That at all relevant times herein mentioned, and upon information and belief,

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Defendants have been and continue to be unjustly enriched with millions of dollars in revenues,
profits, ratings and otherwise in the production, distribution, televising and broadcasting of their
“Good Bones” at Plaintiff's expense, to her financial detriment and in violation of her rights under
copyright law.

86. That at all relevant times herein mentioned, and upon information and belief, it is
against equity and good conscience to permit the Defendants herein to retain the ill-obtained
financial unjust enrichments gained and received by Defendants and sought by Plaintiff for
recovery under this action herein.

87. That at all relevant times herein mentioned, as a result of Defendants’ willful
infringement of Plaintiff’s copyrights and exclusive rights under copyright, Plaintiff MELANIE
TOLBERT is entitled to maximum statutory damages pursuant to 17 U.S.C. § 504(c), and/or to
recover actual damages and profits attributable to the infringement pursuant to 17 U.S.C. § 504(b),
at Plaintiffs election, and such other relief as is provided by laws. Plaintiff MELANIE TOLBERT
is further entitled to her attorney’s fees and full costs pursuant to 17 U.S.C. § 505,

88. That at all relevant times herein mentioned, and upon information and belief, the
conduct of Defendants is causing and, unless enjoined and restrained by this Court, will continue
to cause Plaintiff great and irreparable injury that cannot fully be compensated or measured in
money. Plaintiffhas no adequate remedy at laws.

89. That at all relevant times herein mentioned, pursuant to 17 U.S.C. §§ 502 and 503,
Plaintiff is entitled to injunctive relief prohibiting Defendants from further infringing Plaintiff's
copyrights and ordering Defendants to destroy all copies of the infringing work and/or other
material made in violation of Plaintiff's exclusive rights.

90. That at all relevant times herein mentioned, Plaintiff is entitled to damages

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including, but not limited to, the disgorgement of profits received from the creation of, production
of, marketing of, promoting of, releasing of, airing of, televising of, distribution of, merchandising
of and/or broadcasting of Defendants “Good Bones” which unlawfully uses, takes and

misappropriates Plaintiffs original, creative and unique copyrighted and protected

work/material/work/show/show details/show content/show elements/trade secret/teaser video .

therein.

91. That at all relevant times herein mentioned, Defendants have, through their
conduct, infringed Plaintiffs valid copyright and ownership interest in the pilot teaser video and
show details/ideas/concepts/elements reflected therein in violation under the Copyright Act, 17
U.S.C, § 101 e¢ seq.

92. That at all relevant times herein mentioned, Defendants had direct and indirect
access to Plaintiff's copyrighted materials/work/teaser video/show/show
details/concepts/ideas/elements, and there is a substantial similarity of protectable material in
Plaintiff's work and Defendants’ work. Further, the works of Plaintiff and Defendants are so
strikingly similar that Defendants’ copying the Plaintiff's copyrighted materials is the only realistic
basis for the Defendants’ materials.

93. That at all relevant times herein mentioned, by directly using and appropriating the
images and show details/ideas/elements of Plaintiff’s original work, Defendants’ infringement is
also shown to be willful, intentional, and purposeful, in disregard of and with indifference to
Plaintiff's rights herein.

94. That at all relevant times herein mentioned, Defendants’ continued production,
televising, broadcasting, marketing, merchandising, distributing and airing of their infringing work

“Good Bones” to present date, continues to present date to infringe upon Plaintiff's rights under

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the Copyright Statute.

95,  Asadirect and proximate result of Defendants’ intentional and willful violation of
Plaintiffs rights under the Copyright Statute, and by their intentional and willful taking, using,
utilizing, copying, implementing and misappropriating Plaintiff's original, creative and unique
copyrighted and protected work/material/work/show/show  details/show _content/show
elements/trade secret/teaser video in their infringing work “Good Bones”, Plaintiff has suffered
and continues to suffer injuries and damages to present date including, but not limited to:
compensatory damages in an amount to be determined at trial; actual and/or statutory damages and
any other relief provided by the Copyright Act; damages of Defendants’ profits attributable to the
infringement, under 17 U.S.C. § 504(b); an accounting of such profits realized and received by
Defendants; a constructive trust with respect to any such profits of Defendants, and, attorneys’
fees and costs as set forth in the Copyright Act.

96. That Plaintiffhas further suffered and will continue to suffer substantial, immediate
and irreparable injury, for which there is no adequate remedy at law, in that Plaintiff has been
denied credit for creating such show as well as the loss of prestige therefrom. Indeed, Plaintiff has
suffered and continues to suffer: loss of earnings from being creator of the show; loss of earnings
from being star of the show; loss of earnings from related endorsements, commercial deals,
merchandising deals, derivative works deals and other benefits which naturally flow from being
star of the show, and, loss of earnings from not receiving the credit, prestige and notoriety which
would otherwise be due to Plaintiff herein.

97. That as Defendants’ conduct herein was deliberate, intentional and willful against
Plaintiff, Plaintiffis further entitled to punitive damages and claims punitive damages herein. That

Plaintiff requests an accounting of, and the imposition of a constructive trust for, Defendants’

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profits attributable to their infringement of Plaintiffs copyrighted/protected
work/material/work/show/show details/show content/show elements/trade secret/teaser video
herein.

98. That Plaintiff requests and claims injunctive relief, including but not limited to, an
Order by the Court that Plaintiff be attributed such credit as is due and reflected customarily in the
infringing work, and, Plaintiff further requests pre-judgment interest on sums that would have been
paid had Defendants not infringed on Plaintiffs copyrighted/protected
work/material/work/show/show details/show content/show elements/trade secret/teaser video
herein.

99. That at all relevant times herein mentioned, Plaintiff claims damages herein in

excess of the jurisdictional limits of this Court and in an amount to be determined at Trial by Jury.

AS AND FOR A SECOND CAUSE OF ACTION

VIOLATION OF COLORADO UNIFORM TRADE SECRETS ACT, C.R.S. §87-74-101
TO 7-74-110, ET. SEQ. AND MISAPPROPRIATION

100. Plaintiff repeats, reiterates, re-asserts, re-alleges and restates each and every
allegation and factual allegation set forth in paragraphs of the Complaint numbered “1” to “99”
with the same force and effect as if more fully set forth at length herein.

101. That at all relevant times herein mentioned, Plaintiff's teaser video/show/show
details/show  content/ideas/work/show _elements/protected work/copyrighted materials
were/are/remains to be the proprietary work product, design, process, business product and/or trade
secrets of Plaintiff MELANIE TOLBERT and constitute a “trade secret” as defined by/in/pursuant
to and satisfies the definition of a “trade secret” pursuant to the Colorado Uniform Trade Secrets

Act, C.R.S. §7-74-102(4).

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102. That at all relevant times herein mentioned, Plaintiffs teaser video/show/show
details/show content/ideas/work/show elements/protected work/copyrighted materials that
were/are/remains to be the proprietary work product, design, process, business product and/or trade
secrets of Plaintiff MELANIE TOLBERT, is Plaintiff's design, process, procedure, business
information to her profession and business which is secret and is of value and for which Plaintiff
took measures to prevent her trade secret from becoming available to persons other than those
selected by her to have access to for limited purposes. Plaintiff's teaser video/show/show
details/show content/ideas/work/show elements/protected work/copyrighted materials constitute
business information, including but not limited to, Plaintiff's program, compilation of information
and ideas, formatting, staging, design, timing, placement, method, technique and/or process that
derives independent actual or potential commercial value from not being generally known or
readily ascertainable through independent development or reverse engineering by persons who can
obtain economic value from its disclosure or use, and, is/are the subject of efforts that are
reasonable under the circumstances.

103. That at all relevant times herein mentioned, Plaintiff's teaser video/show/show
details/show content/ideas/work/show elements/protected work/copyrighted materials that
were/are/remains to be the proprietary work product, design, process, business product and/or trade
secrets of Plaintiff MELANIE TOLBERT, constitutes trade secrets because it yields and/or derives
independent economic value, actual or potential, from not being generally known to and not being
readily ascertainable by proper means by other persons who can obtain value from disclosure and
use such as Defendants herein.

104, ‘That at all relevant times herein mentioned, Plaintiff took reasonable steps to

protect her foregoing proprietary work product/teaser video/show/show  details/show

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content/ideas/work/show elements/protected work/copyrighted materials/trade secrets including,
but not limited to taking measures to prevent same from becoming available to persons other than
those selected by Plaintiff to have access to same for limited purposes; Defendants’ access was for
limited purposes for Plaintiff to have her show produced and televised and not for Defendants to
unlawfully take/misappropriate herein and to use, produce and televise without Plaintiff and
without her consent or authority. Plaintiff further took reasonable steps and efforts to protect her
trade secrets by obtaining a Certificate of Copyright Registration for her teaser video/show/show
details/show content/ideas/work/show elements/protected work/copyrighted materials. See
Exhibit “B”, supra.

105. That at all relevant times herein mentioned, Defendants knew and/or had reasons
to know that Plaintiffs proprietary work product/teaser video/show/show details/show
content/ideas/work/show elements/protected work/copyrighted materials/trade secrets were a
trade secret(s) and that they acquired same by/through improper means and not by an accident or
mistake. See §7-74-102(2){a)-(I]).

106. That at all relevant times herein mentioned, Defendants took and misappropriated
Plaintiff's proprietary work product/teaser video/show/show details/show
content/ideas/work/show elements/protected work/copyrighted materials/trade secrets
fraudulently, willfully, intentionally and took and used same to their financial benefit and
enrichment without the express consent or implied authority or consent of/by Plaintiff herein and
without the compensation and credit due and owing to Plaintiff for same.

107. That at all relevant times herein mentioned, Defendants were and are aware of the
unlawful benefits conferred to them by their unlawful misappropriation herein, they have solicited

these benefits, they have accepted these benefits and, based upon their conduct, omissions and

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actions as detailed above, they sought and continue to seek to gain further benefit therefrom by
misappropriating Plaintiff’s proprietary work product/teaser video/show/show details/show
content/ideas/work/show elements/protected work/copyrighted materials/trade secrets and
using/implementing same in their infringing work “Good Bones”, and, continues to do so to
present date. See Exhibit “C”, supra.

108. That at all relevant times herein mentioned, Defendants have retained these
benefits, have not compensated Plaintiff for these benefits and do not intend to compensate
Plaintiff for these benefits.

109. That at all relevant times herein mentioned, Defendants have retained these
benefits, have not compensated Plaintiff for these benefits and do not intend to compensate
Plaintiff for these benefits to Plaintiffs detriment including, but not limited to, financial detriment
and other damages and injuries herein.

110. That at all relevant times herein mentioned, Defendants’ unlawful misappropriation
of Plaintiff's trade secrets was done in bad faith, was willful and malicious and was in willful and
wanton disregard of Plaintiffs rights, and, as such, pursuant to Colorado Uniform Trade Secrets
Act, §§7-74-101, ef. seg., and specifically $7-74-104(2), Plaintiff is entitled to recover, in addition
to compensatory damages including actual damages of economic loss and/or unjust enrichment
caused by Defendants’ misappropriation herein., punitive/exemplary damages against Defendants
herein. Pursuant to Colorado Uniform Trade Secrets Act, §§7-74-101, et. seg., and specifically
§7-74-103, Plaintiff is also entitled to injunctive relief and, pursuant to §7-74-105, Plaintiff is
further entitled to reasonable attorneys’ fees herein.

111. That at all relevant times herein mentioned, as a direct and proximate cause of

Defendants’ unlawful misappropriation herein, Plaintiff has been damaged and injured therefrom

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including, but not limited to: actual economic loss and damages from Defendants’ unjust
enrichment herein; loss of earnings from being creator of the show; loss of earnings from being
star of the show; loss of earnings from related endorsements, commercial deals, merchandising
deals, derivative works deals and other benefits which naturally flow from being star of the show,
and, loss of earnings from not receiving the credit, prestige and notoriety which would otherwise
be due to Plaintiff herein and other related and consequential damages therefrom.

112. That at all relevant times herein mentioned, Defendants’ unlawful misappropriation
herein has caused and will continue to cause Plaintiff economic loss, loss of future business
opportunities and will prevent Plaintiff from receiving the due compensation owed to Plaintiff
from Defendants herein.

113. That at all relevant times herein mentioned, all conditions precedent have occurred,
been waived or have otherwise been satisfied.

114. That at all relevant times herein mentioned, as a direct and proximate result of the
foregoing, Plaintiff has suffered and will continue to suffer damages herein.

115. That at all relevant times herein mentioned, Plaintiff respectfully request that this
Honorable Court enter judgment against Defendants herein and in favor of Plaintiff MELANIE
TOLBERT for all remedies available under Colorado Uniform Trade Secrets Act, §§7-74-101 to
7-74-110, et. seq., including, but not limited to, damages for: actual loss, for potential loss, unjust
enrichment, costs, interest and Attorneys’ fees, injunctive relief, for Defendants’ profits, for
punitive damages and for such other relief, in law and/or in equity that this Court deems just and
proper.

116. That at all relevant times herein mentioned, Plaintiff claims damages herein in

excess of the jurisdictional limits of this Court and in an amount to be determined at Trial by Jury.

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AS AND FOR A THIRD CAUSE OF ACTION
CONVERSION

117. Plaintiff repeats, reiterates, re-asserts, re-alleges and restates each and every
allegation and factual allegation set forth in paragraphs of the Complaint numbered “1” to “116”
with the same force and effect as if more fully set forth at length herein.

118. That at all relevant times herein mentioned, Plaintiff's proprietary work
product/teaser video/show/show details/show content/ideas/work/show elements/protected
work/copyrighted materials/trade secrets was/is/remains to be the proprietary work product,
business information, business idea, plan, property and/or trade secret of Plaintiff MELANIE
TOLBERT.

119. That at all relevant times herein mentioned, Plaintiffs proprietary work
product/teaser video/show/show details/show content/ideas/work/show elements/protected
work/copyrighted materials/trade secrets was confidential and constitutes trade secrets because it
yields and/or derives independent economic value, actual or potential, from not being generally
known to and not being readily ascertainable by proper means by other persons who can obtain
value from disclosure and use such as Defendants herein.

120. hat at all relevant times herein mentioned, Plaintiff took reasonable steps to
protect her foregoing proprietary work product, business ideas, business information, property,
business property and/or trade secrets herein including, but not limited to, copyrighting her
proprietary work product/teaser video/show/show details/show content/ideas/work/show
elements/protected work/copyrighted materials/trade secrets. See Exhibit “B”, supra.

121. That at all relevant times herein mentioned, Defendants took/usurped, implemented
and used Plaintiffs proprietary work product/teaser video/show/show  details/show

content/ideas/work/show elements/protected work/copyrighted materials/trade secrets by

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improper means as detailed above, and, not by accident or mistake.

122. That at all relevant times herein mentioned, Defendants knew and/or had reasons
to know that Plaintiffs proprietary work product/teaser video/show/show details/show
content/ideas/work/show elements/protected work/copyrighted materials/trade secrets was a trade
secret(s) and that they acquired same by/through improper means and not by an accident or
mistake.

123. That at all relevant times herein mentioned, Defendants took and converted
Plaintiffs proprietary work product/teaser video/show/show details/show
content/ideas/work/show elements/protected work/copyrighted materials/trade secrets willfully,
intentionally, maliciously, wantonly, fraudulently, unlawfully and/or with complete disregard for
Plaintiffs rights thereto.

124. That at all relevant times herein mentioned, Defendants took and converted
Plaintiff's proprietary work product/teaser video/show/show details/show
content/ideas/work/show elements/protected work/copyrighted materials/trade secrets without the
express consent, permission or implied authority or consent of/by Plaintiff herein.

125. That at all relevant times herein mentioned, Defendants were and are aware of the
unlawful benefits conferred to them by their unlawful conversion herein, they have solicited these
benefits, they have accepted these benefits and, based upon their conduct, omissions and actions
as detailed above, they sought out and continue to seek to gain further benefit therefrom by
misappropriating Plaintiff's proprietary work product/teaser video/show/show details/show
content/ideas/work/show elements/protected work/copyrighted materials/trade secrets to present
date. See Exhibit “C”, supra.

126. That at all relevant times herein mentioned, Defendants have retained these

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benefits, have not compensated Plaintiff for these benefits and do not intend to compensate
Plaintiff for these benefits.

127. That at all relevant times herein mentioned, Defendants have retained these
benefits, have not compensated Plaintiff for these benefits and do not intend to compensate
Plaintiff for these benefits to Plaintiff's detriment including, but not limited to, financial detriment
to present date.

128. That at all relevant times herein mentioned, Plaintiff is the proper owner of
Plaintiff's proprietary work product/teaser video/show/show details/show
content/ideas/work/show elements/protected work/copyrighted materials/trade secrets herein and
same has been and continues to be wrongfully possessed, taken, usurped, used, misappropriated
and converted by Defendants to Defendants’ benefit and to Plaintiff's detriment herein.

129, That at all relevant times herein mentioned, Defendants have, without
authorization, consent or permission by/from Plaintiff, assumed and exercised the right of
ownership of Plaintiffs proprietary work product/teaser video/show/show details/show
content/ideas/work/show elements/protected work/copyrighted materials/trade secrets herein to
the alteration of its condition and to the exclusion of Plaintiff's rights as owner thereof.

130. That at all relevant times herein mentioned, Defendants wrongfully deprived
Plaintiff of her ownership of her proprietary work product/teaser video/show/show details/show
content/ideas/work/show elements/protected work/copyrighted materials/trade secrets herein and
their actions, conduct and omissions as detailed above, denies and violates Plaintiff's dominion
over and rights to/in her property herein.

131. That at all relevant times herein mentioned, as a direct and proximate cause of

Defendants’ unlawful conversion herein, Plaintiff has been damaged and injured therefrom

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including, but not limited to: actual economic loss and damages from Defendants’ unjust
enrichment herein; loss of earnings from being creator of the show; loss of earnings from being
star of the show; loss of earnings from related endorsements, commercial deals, merchandising
deals, derivative works deals and other benefits which naturally flow from being star of the show,
and, loss of earnings from not receiving the credit, prestige and notoriety which would otherwise
~ be due to Plaintiff herein and other related and consequential damages therefrom.

132, That at all relevant times herein mentioned, Defendants’ unlawful conversion
herein has caused and will continue to cause Plaintiff economic loss, loss of future business
opportunities, and, will prevent Plaintiff from receiving the due compensation owed to Plaintiff
therefrom.

133. That at all relevant times herein mentioned, as a direct and proximate result of the
foregoing, Plaintiff has suffered and will continue to suffer damages herein.

134. That at all relevant times herein mentioned, Plaintiff claims damages herein in

excess of the jurisdictional limits of this Court and in an amount to be determined at Trial by Jury.

AS AND FOR A FOURTH CAUSE OF ACTION
UNJUST ENRICHMENT

135. Plaintiff repeats, reiterates, re-asserts, re-alleges and restates each and every
allegation and factual allegation set forth in paragraphs of the Complaint numbered “1” to “134”
with the same force and effect as if more fully set forth at length herein.

136. That at all relevant times herein mentioned, Defendants utilized Plaintiff's
proprietary work product/teaser video/show/show details/show content/ideas/work/show
elements/protected work/copyrighted materials/trade secrets in their infringing work “Good
Bones” and, as a result of same, Defendants have received and retained, and continue to receive

and retain to present date, benefits including, but not limited to: increase in profits, increase in

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ratings, increase in revenue and other benefits therefrom to the detriment of Plaintiff as, to present
date, Defendants have retained these benefits and have not compensated Plaintiff herein.

137. That at all relevant times herein mentioned, Defendants have further received and
retained benefits in the form of ratings, notoriety, prestige and acclaim in the entertainment
industry and, in particular, in the reality show industry, from and as a result of utilizing Plaintiff's
proprietary work product/teaser video/show/show details/show content/ideas/work/show
elements/protected work/copyrighted materials/trade secrets in their infringing work “Good
Bones”.

138. That, upon information and belief, as a result of the success Defendants received
and continue to receive from utilizing Plaintiffs proprietary work product/teaser video/show/show
details/show content/ideas/work/show elements/protected work/copyrighted materials/trade
secrets in their infringing work “Good Bones”, Defendants renewed/extended their show/program
“Good Bones” to a fifth season which is scheduled to air on June 9, 2020,

139, That at all relevant times herein mentioned, the benefits received and retained by
Defendants, which they continue to receive and retain to Plaintiff's detriment, are as a result of
their use/implementation/copying/taking of Plaintiffs proprietary work product/teaser
video/show/show details/show content/ideas/work/show elements/protected work/copyrighted
materials/trade secrets herein.

140. That at all relevant times herein mentioned, and continuing to present date,
Defendants have received and retain, and continue to receive and retain these benefits, including
financial and economic benefits, and to date, have not, failed to and refuse to compensate Plaintiff
herein.

141. That at all relevant times herein mentioned, Plaintiff had, and still has, a reasonable

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expectation of being compensated for the creation of her proprietary work product/teaser
video/show/show details/show content/ideas/work/show elements/protected work/copyrighted
materials/trade secrets herein, which Defendants took, used, copied, implemented and produced in
their infringing work “Good Bones”, as well as an expectation for credit for same,

142. That at all relevant times herein mentioned, Defendants acted with improper motive
in taking, using, implementing, utilizing, copying, misappropriating and converting Plaintiff's
original work in their infringing work “Good Bones”, and further, intentionally and in wanton
disregard for Plaintiffs rights to same, failed, refused and continue to refuse to compensate her
for same.

143. That at all relevant times herein mentioned, Defendants’ actions, conduct, failure
and omissions were intentional, deliberate, malicious, willful and wanton and, were not accident
or mistake.

144. That at all relevant times herein mentioned, Defendants have unjustly enriched
themselves at Plaintiff's expense and detriment herein and continue to do so to present date.

145. That at all relevant times herein mentioned, Defendants’ unjust enrichment has
resulted in depriving Plaintiff of the appropriate economic fruits of her labor, as well as, depriving
her of the creative credit and opportunity due and owing to her herein.

146. That at all relevant times herein mentioned, and upon information and belief,
Defendants have profited substantially from their infringing activities, have collected, and continue
to collect monies, profits and the like from their use, taking, producing, televising and
misappropriation of Plaintiffs work, and/or any detivatives thereof, and have retained such
monies/profits without submitting/tendering/compensating any amount to Plaintiff herein.

147. That at all relevant times herein mentioned, and upon information and belief, as a

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direct result of the writing, creation, production, release, marketing, promoting, sales,
performances, televising, airing, licensing and/or distribution of Defendants’ “Good Bones”, the
Defendants herein received and accepted, and continue to receive and accept to present date,
financial enrichment, financial gains, financial profits, monies, income and/or revenues from the
writing, production, sale and world-wide distribution of Defendants’ “Good Bones”, and, further
receive and continue to receive same unjustly and to the financial detriment and expense of
Plaintiff as set forth herein.

148. That at all relevant times herein mentioned, and upon information and belief,
Defendants were/are contractually, professionally and financially enriched by iis show “Good
Bones” and continue to be so enriched to present date to the detriment of Plaintiff herein.

149, That at all relevant times herein mentioned, and upon information and belief, the
Defendants wrote, created, produced, cleared, approved, released, aired, televised, promoted,
marketed, and continue to do so to present date, their “Good Bones” in a total exclusionary fashion
Plaintiff, at the expense of Plaintiff, to the Defendants’ unjust enrichment, and, contrary to Plaintiff
MELANIE TOLBERTs exclusive rights to reproduce and distribute her copyrighted
work/show/show details/show content/show elements to the public and/or to authorize derivative
works under copyright law to/for Plaintiff's own benefit/financial benefit.

150. That at all relevant times herein mentioned, and upon information and belief, as a
direct result of the writing, creation, production, release, marketing, promoting, performances,
airing, televising, broadcasting, publishing and distribution of Defendants’ “Good Bones”, the
Defendants herein received and accepted, and continue to receive and accept to present date,
financial enrichment, financial gains, financial profits, monies, income, ratings and/or revenues

from the writing, production, creations, marketing, televising, broadcasting and distribution of

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Defendants’ “Good Bones”, and, further receive and continue to receive same unjustly and to the
financial detriment and expense of Plaintiff as set forth herein. See Exhibit “C”, supra.

151. That at all relevant times herein mentioned, and upon information and belief, it is
against equity and good conscience to permit the Defendants herein to retain the ill-obtained
financial unjust enrichments gained and received by Defendants and sought by Plaintiff for
recovery under this action herein.

152. That at all relevant times herein mentioned, and upon information and belief, the
conduct of Defendants is causing and, unless enjoined and restrained by this Court, will continue
to cause Plaintiff great and irreparable injury that cannot fully be compensated or measured in
money. Plaintiff has no adequate remedy at laws.

153. That at all relevant times herein mentioned, Plaintiff is entitled to damages
including, but not limited to, actual economic loss, punitive damages, as well as, to the
disgorgement of profits received from the creation of, production of, marketing of, promoting of,
releasing of, airing of, televising of, distribution of, merchandising of and/or broadcasting of
Defendants “Good Bones” which unlawfully uses, takes and misappropriates Plaintiff's original,
creative and unique copyrighted and protected work/material/work/show/show details/show
content/show elements/trade secret/teaser video therein.

134. Plaintiff has suffered and continues to suffer injuries and damages to present date
including, but not limited to: compensatory damages in an amount to be determined at trial; actual
and/or statutory damages and any other relief provided by the Copyright Act; damages of
Defendants’ profits attributable to the infringement, under 17 U.S.C. § 504(b); an accounting of
such profits realized and received by Defendants; a constructive trust with respect to any such

profits of Defendants, and, attorneys’ fees and costs as set forth in the Copyright Act.

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155, That Plaintiffhas further suffered and will continue to suffer substantial, immediate
and irreparable injury, for which there is no adequate remedy at law, in that Plaintiff has been
denied credit for creating such show as well as the loss of prestige therefrom. Indeed, Plaintiff has
suffered and continues to suffer: loss of earnings from being creator of the show; loss of earnings
from being star of the show; loss of earnings from related endorsements, commercial deals,
merchandising deals, derivative works deals and other benefits which naturally flow from being
star of the show, and, loss of earnings from not receiving the credit, prestige and notoriety which
would otherwise be due to Plaintiff herein.

156. That as Defendants’ conduct herein was deliberate, intentional and willful against
Plaintiff, Plaintiff is further entitled to punitive damages and claims punitive damages herein.

157. That Plaintiff requests an accounting of, and the imposition of a constructive trust
for, Defendants’ profits attributable to their infringement of Plaintiff's copyrighted/protected
work/material/work/show/show details/show content/show elements/trade secret/teaser video
herein.

158. That Plaintiff requests and claims injunctive relief, including but not limited to, an
Order by the Court that Plaintiff be attributed such credit as is due and reflected customarily in the
infringing work, and, Plaintiff further requests pre-judgment interest on sums that would have been
paid had Defendants not infringed on Plaintiffs  copyrighted/protected
work/material/work/show/show details/show content/show elements/trade secret/teaser video
herein.

159. That at all relevant times herein mentioned, Plaintiff claims damages herein in

excess of the jurisdictional limits of this Court and in an amount to be determined at Trial by Jury.

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AS AND FOR A FIFTH CAUSE OF ACTION
PUNITIVE DAMAGES

160. Plaintiff repeats, reiterates, re-asserts, re-alleges and restates each and every
allegation and factual allegation set forth in paragraphs of the Complaint numbered “1” to “159”
with the same force and effect as if more fully set forth at length herein.

161. That at all times herein mentioned, Defendants’ conduct complained of herein, and
as set for above, were intentional, malicious, reckless, wanton, extreme, outrageous, in total and/or
reckless disregard and deliberate indifference to the lawful rights and entitlements of Plaintiff
herein,

162. That at all times herein mentioned, Defendants’ omissions, conduct and/or failures,
complained of herein, and as set for above, were intentional, malicious, reckless, wanton, extreme,
outrageous, in total and/or reckless disregard and deliberate indifference to the lawful rights and
entitlements of Plaintiff herein.

163. That at all times herein mentioned, Defendants’ conduct, as complained of herein,
warrants and mandates that the jury should be instructed to affixed a monetary award so as to
punish Defendants for same outrageous conduct and to further serve as a deterrent to these
Defendants and other entities/individuals/parties similarly situated as Defendants from engaging
in the same and/or similar conduct who may be considering and/or engaging in intentional,
malicious, reckless, wanton, extreme, outrageous conduct in total and/or reckless disregard and
deliberate indifference to the lawful rights and entitlements of others, as Plaintiff herein, and to
further serve the interest of the public at large.

164. That pursuant to Colorado Uniform Trade Secrets Act, C.R. 8. §7-74-101 to 7-74-

110, e¢. seg., including but not limited to Section 7-74-104(2)m Plaintiffis entitled to and demands

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herein, punitive damages against Defendants herein.
165. That Plaintiff claims punitive damages herein and requests that a judgment be
granted against Defendants in the amount of One Hundred Million Dollars, ($100,000,000.00)

and/or in an to be determined at trial by the Jury.
ALL CONDITIONS PRECEDENT HAVE BEEN MET, SATISFIED AND/OR WAIVED
PLAINTIFF DEMANDS TRIAL BY JURY

Plaintiff respectfully demands and requests a trial by jury in the within action.
WHEREFORE, Plaintiff MELANIE TOLBERT prays for relief as follows:
1. For a judicial determination that Plaintiff’s copyright/trade secret has been
infringed upon by Defendants;
2. For injunctive relief against Defendants, enjoining Defendants from continuing to

infringe on Plaintiff's copyright/protected work/trade secret;

3. For damages against Defendants in such amount as may be found or as otherwise
permitted by laws;
4, For punitive and/or exemplary damages;

5. For ail recoverable damages pursuant to the Copyright Act, 17 U.S.C. 101 e¢ seq.;
6. For all recoverable damages pursuant to the Colorado Uniform Trade Secrets Act,
C.R.S. §§7-74-101 TO 7-74-110, e¢. seq.;

7. For attorney’s fees and costs, and

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8. For any such other and further relief as the Court may deem just and proper.

Dated: June 1, 2020

Respectfully Submitted By:

/s/_ JoAnn Squillace

JoAnn Squillace, Esq.

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/s/ H. Edgar Howard

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PLAINTIFF’S VERIFICATION

STATE OF ALABAMA

COUNTY OF ETOWAH

MELANIE TOLBERT, being duly sworn, deposes and says that she is the
deponent and is the above named Plaintiff; that deponent has read the foregoing
SUMMONS, COMPLAINT AND JURY DEMAND and knows its contents; that

the contents of same are true to deponent’s knowledge, except as to those matters
stated to be alleged upon information and belief and, as to those matters, deponent

believes same to be true.

MELANIE TOLBERT!

Sworn to before me this [er day of June 2020

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UNITED STATES DISTRICT COURT
DISTRICT OF COLORADO

 

MELANIE TOLBERT,
PLAINTIFF, Docket No.:
v.
HIGH NOON PRODUCTIONS, LLC,
HIGH NOON PRODUCTIONS, LLC d/b/a
HIGH NOON ENTERTAINMENT, and
HIGH NOON ENTERTIANMENT,
DEFENDANTS.

 

 

SUMMONS, COMPLAINT AND JURY DEMAND

 

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